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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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RICK WOLFSON ,

               Plaintiff,                            NOTICE OF SETTLEMENT

       v.                                            Civil Action No. 21-CV-359

ADORE ME INC.,

            Defendant,
_________________________________________


       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached a settlement. The Plaintiff anticipates filing a Stipulation of Discontinuance of

this action with prejudice pursuant to Fed. R. Civ.P.41(a) by October 8, 2021.




DATED: 8/9/2021


                                             /s/ Seth J. Andrews____________________
                                             Seth J. Andrews, Esq.
                                             Law Offices of Kenneth Hiller, PLLC
                                             Attorneys for Plaintiff
                                             6000 N. Bailey Avenue – Suite 1A
                                             Amherst, New York 14226
                                             (716) 564-3288
                                             sandrews@kennethhiller.com
